                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                         MARSHALL DIVISION



ENTROPIC COMMUNICATIONS, LLC,             Civil Action No. 2:22-cv-00125-JRG

     Plaintiff                               JURY TRIAL DEMANDED

        v.

CHARTER COMMUNICATIONS, INC.,

     Defendant.




           CHARTER COMMUNICATIONS, INC.’S OPPOSITION
        TO PLAINTIFF’S OPPOSED MOTION TO COMPEL (DKT. 245)
                                               TABLE OF AUTHORITIES


Cases

Conkling v. Turner,
  883 F.2d 431 (5th Cir. 1989) ................................................................................................ 2, 11

Hearn v. Rhay,
  58 F.R.D. 574 (E.D. Wash. 1975) ............................................................................................. 11

Hunt v. Blackburn,
  128 U.S. 464 (1888) .................................................................................................................. 10

Mohawk Indus., Inc. v. Interface, Inc.,
 No. 4:07-CV-0212-HLM, 2008 WL 5210386 (N.D. Ga. Sept. 29, 2008).......................... 11, 12

Proctor & Gamble Co. v. S.C. Johnson & Son, Inc.,
  Civil Action No. 9:08-CV-143, 2009 WL 10677747 (E.D. Tex. May 13, 2009) ................... 2, 9

United States v. El Paso Co.,
  682 F.2d 530 (5th Cir. 1982) ...................................................................................................... 5

United States v. Woodall,
  438 F.2d 1317 (5th Cir. 1970) .................................................................................................. 11

Upjohn Co. v. United States,
  449 U.S. 383 (1981) .................................................................................................................... 5

Willy v. Admin. Review Bd.,
  423 F.3d 483 (5th Cir. 2005) ...................................................................................................... 2




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I.      INTRODUCTION

        Charter opposes Entropic’s motion to compel privileged testimony and documents (Dkt.

245, “Mot.”). Entropic’s motion fails because there is no waiver—Charter has not affirmatively

put its own lawyer’s advice at issue regarding

                                        Entropic’s entire waiver argument is based on the fact that

Charter is not relying on advice of counsel and not putting legal advice at issue.

        Entropic states “that [t]he Fifth Circuit, sitting en banc, has found that where a party

testifies that its communications with its lawyer(s) did not contain certain advice, and the party

then relies upon that assertion to better its case, the party waives privilege over communications

surrounding that subject.” (Mot. at 2.) It fails, however, to identify any testimony that

“communications with its lawyer(s) did not contain certain advice” or reliance on such assertion.

Instead, Entropic merely relies on disclosures such as Charter’s interrogatory response explaining




                                                                                            Neither

even remotely suggests what the substance was of any legal advice Charter received concerning

these decisions, nor does it show how Charter itself is attempting to rely on such legal advice.

        The rest of Entropic’s motion amounts to an irrelevant effort to attack the credibility of

Charter’s witnesses concerning                                                           . Entropic

argues Charter’s story “suddenly changed” and later “changed again.” The record, however, will

show

                                                                                                   .

The mere fact that Entropic believes discovery of privileged Charter communications would aid it

in disputing this record is no basis at all for asserting waiver of privilege.
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       Had Charter stated that it was relying on advice of counsel in its

                                                                       Entropic undoubtably would

have argued this put such advice at issue and waived privileged. Instead, Charter did the opposite

but Entropic still asserts waiver. Under Entropic’s logic, nearly any assertion of privilege

concerning a decision constitutes a waiver, whether or not the party asserts that it relied on legal

advice or puts the substance of that legal advice at issue. Unsurprisingly, none of its cases support

this sweeping proposition because it would effectively eliminate attorney-client privilege.

II.    LEGAL STANDARD

       In the Fifth Circuit, “when a party entitled to claim the attorney-client privilege uses

confidential information against his adversary (the sword), he implicitly waives its use protectively

(the shield) under that privilege.” Willy v. Admin. Review Bd., 423 F.3d 483, 497 (5th Cir. 2005).

Waiver occurs when a party injects the advice of its counsel as an issue in the litigation. See

Conkling v. Turner, 883 F.2d 431, 435 (5th Cir. 1989). Merely asserting a defense, however, where

a party does not use privileged information in support of that defense does not implicitly waive

attorney-client privilege. Proctor & Gamble Co. v. S.C. Johnson & Son, Inc., Civil Action No.

9:08-CV-143, 2009 WL 10677747, at *3 (E.D. Tex. May 13, 2009).

       Under this standard, Charter has not waived privilege.

III.   ARGUMENT

       A.      Charter Has Not Affirmatively Put Its Own Lawyer’s Advice At Issue

       In order to waive privilege, a party must affirmatively put its own lawyer’s advice at issue.

Conkling, 883 F.2d at 435. Charter has not done so. Charter never put the substance of any legal

advice it received




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evidence, beyond a statement that the legal positions SCJ takes ‘necessarily include advice of

patent counsel.’”).

       E.      None Of Entropic’s Case Law Is On Point

       Entropic argues that Supreme Court and Fifth Circuit precedent “dictates” a finding of

waiver of privilege here. (Mot. at 9.) Entropic is wrong. Each and every case Entropic relies on,

and spends pages explaining, leads to the same conclusion—waiver occurs when a party puts

advice of its counsel at issue in the case, something that Charter had not done here.

       In what is probably the seminal case that speaks to “implied waiver” (or the use of attorney-

client privilege as “a sword and a shield”), Hunt v. Blackburn, 128 U.S. 464 (1888), the Defendant

Mrs. Blackburn raised as a defense her allegedly “misplaced confidence in her counsel, by whom

she alleges she was deceived, misadvised, and misled” and “that she was ignorant of her rights” in

the matter at issue. Id.at 470. In doing this, Mrs. Blackburn injected the advice of her counsel as a

central issue in the case. Meanwhile, Mrs. Blackburn, invoking the attorney-client privilege,

maintained that her attorney “should not be permitted to defend himself by testifying to the facts

and circumstances under which he advised her, and the advice which he actually gave,” effectively

blocking any inquiry into the factual basis of her defense. Id. The Court found the attorney-client

privilege waived because “Mrs. Blackburn entered upon a line of defense which involved what

transpired between herself and Mr. Weatherford [her lawyer], and respecting which she testified,

she waived her right to object to his giving his own account of the matter.” Id. at 470–471

(emphasis added).

       In Hunt, and the other cases Entropic relies upon in which privilege was waived, the party

asserting privilege put that privilege at issue by stating or implying that it received specific legal

advice which caused it to take some action or led to inaction. Mrs. Blackburn asserted that her

counsel “deceived, misadvised, and misled” her. Here, unlike Mrs. Blackburn, Charter has not
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relied on, cited, or discussed any (alleged) communications with its in-house or outside counsel in

any of its defenses. It has not stated or implied that it received advice that any of its activities

infringed or did not infringe.

       Entropic’s cited Fifth Circuit precedent fares no better than Hunt. Entropic spends much

time on United States v. Woodall, 438 F.2d 1317 (5th Cir. 1970), a criminal case that is even less

relevant than Hunt. (Mot. at 10–11.) The criminal defendant-appellant in Woodall raised as his

defense “that his pleas were invalid because they were not intelligently made, since he lacked

knowledge of the sentence consequences.” Id. at 1324. “[T]he heart of his defense was the

assertion that he did not know what sentences could result.” Id. (emphasis added). And, in raising

this defense, he directly placed communications with his attorney (i.e., allegedly misleading advice

as to the maximum possible penalty for his offense) at issue. Charter has not injected any advice

or communications of counsel into this matter. Woodall is plainly inapplicable.

       Conkling v. Turner, 883 F.2d 431 (5th Cir. 1989) is similarly inapt. The waiver in Conkling

stemmed from the fact that appellant Conkling “injected” an issue into the case that directly related

to advice that his attorneys provided him and that had a direct bearing on his RICO claim, namely,

when he knew of (or should have known) that he had been defrauded by the defendant. Id. at 435.

Thus, as was the case in Hunt and Woodall, Conkling similarly stands for the proposition that a

party place privileged information in issue “through some affirmative act for [the party’s] own

benefit.” Id. at 434 (quoting Hearn v. Rhay, 58 F.R.D. 574, 581 (E.D. Wash. 1975). Here, there is

no such “affirmative act” on the part of Charter to put privileged information “in issue.”

       Entropic’s reliance on non-binding, non-Fifth Circuit case law is also off point. Mot. at 11–

12. In Mohawk Indus., Inc. v. Interface, Inc., Civil Action File No. 4:07-CV-0212-HLM, 2008 WL

5210386 (N.D. Ga. Sept. 29, 2008), the court found that the defendant in a false patent marking



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case “injected an issue into the case that requires disclosure of privileged materials” when its

officer testified that he sent instructions to mark certain products after receiving a phone call from

in-house counsel, where that issue was the officer’s knowledge about which products were covered

by the defendant’s patent. Id. at *13. The officer testified, squarely putting privilege at issue, that

he knew “from discussions with attorneys that the first few products in the i2 collection . . . were

covered” by the patent and that he had no “other basis” for his belief which led to marking the

products. Id. at *14. The circumstances here, however, are nothing like those in Mohawk. Here,

Entropic does not cite any testimony or facts from which can be inferred that any privileged

communications occurred in connection with

                                              Nor did Charter put at issue whether any privileged

communication does or does not contain advice regarding                                               .

IV.    CONCLUSION

       For these reasons, Charter respectfully asks that the Court deny Entropic’s motion to

compel testimony and documents improperly withheld as privileged.




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Dated: October 18, 2023   Respectfully submitted,

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